 

AO 106 (Rev, 041'|0) Application fora Search Warrant _ i i___

UNITED STATES DISTRICT CoURT
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for the
District ot`New Mexico CE.ERK` LAS CRUC ‘
ln the Matter of the Search of )
(Br.ief{v describe the property m be searched ) ,\
or idemij_% the person b_t‘ name and addressi ) Case NO' 1 %'\A D\Lc,`c'j l
A Lenovo ldeaPad Laptop Computer Seria| Number ) l
RB-GMWH?, Current|y in the Possession of the FB| g

APPL!CAT|ON FOR A SEARCH WARRANT

l, a federal law enforcement otticer or an attorney for the government, request a search warrant and state under
penalty of perjury that l have reason to believe that on the following person or property ridem:'fv the person or describe the
property to be searched and give its localion).'

See Attachment A. hereby incorporated by reference

located in the n District of ___ New Mexico _ _ there is now concealed ridemg';_i-ihe

person or describe the property to be seized):
See Attachment B, hereby incorporated by reference

The basis for the search under Fed. R. Crirn. P. 4l(c) is wheat one ar munoz
|!‘evidence of`a crime;
dcontraband. fruits of crime. or other items illegally possessed;
ldproperty designed for use, intended for use_. or used in committing a crime;
ij a person to be arrested or a person who is unlawfully restrainedl

The search is related to a violation of:

Code Sec!i'ori O_[fé*nse Descri'ption
18 U.S.C. § 2252A(a)(5) Knowing Possession of Chi|d Pomography
18 U.S.C. § 2252A(a)(2) Knowing Receipt and Distributiori of Chi|d Pornography

The application is based on these facts:

See Aftidavit in Support of Warrant, which is hereby incorporated by reference

d Continued on the attached sheet.

!J Delayed notice of days (give exact ending date if more than 30 days: ) is requested
under 18 U.S.C. § 3103a, the basis of which is set forth on the hed sheet.

  
  

Sworn to before me and signed in my presence

 

dge 's signature

Date; Q S¢F _z__‘_( 9

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Prt`med name and title

 

City and state Lias,gup§s. New__Mexi£ j

 

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ATTACHMENT A
PROPERTY TO BE SEARCHED
The property to be searched is a black Lenovo ldeaPacl laptop computer bearing serial
number: RS-GMWH?, Product lD: 4187RWU (hereinat`ter the "Device"). The Device is
located at the Federal Bureau of lnvestigations Las Cruces, Evidence Room, 2509 N. Telshor
Boulevard. Las Cruces, New Mexico.
This warrant authorizes the forensic examination of the Device for the purpose of

identifying the electronically stored information described in Attachment B.

 

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ATTACHMENT B
ITEMS TO BE SEIZED
l. All items to be seized are evidence, contraband, fruits, and/or instrumentalities of
violations of` 18 U.S.C. and evidence of crimes constituting violations of Title 18 U.S.C. §
2252A(a)(2) (receipt and distribution of child pomography) and 18 U.S.C. § 2252A(a)(5)(13)
(possession of child pornography), namely:

a. Child pomography, as defined in 18 U.S.C. § 2256(_8).

b. Any records. documents, programs applications, or materia|s. including
electronic mail and electronic messages_. that refer to child pornography_. as
defined in 19 U.S.C. § 2256(8). including but not limited to, documents that refer
to the possession, receipt. distribution, transmission reproduction, viewing,
shan`ng, purchase. downloading, production. shipment, order, requesting, trade. or
transaction of` any kind` involving child pornography

c. Any records. documents programs, applications or materials. including
electronic mail and electronic messages tending to identify persons involved in
the possession, receipt, distribut9i0n. transmission reproduction, viewing,
sharing, purchase. downloading, production, shipment. order. requesting, trade, or
transaction of` any kind__ involving child pornography, as defined in 18 U.S.C. §
2256(8).

d. Any records. documents, programs applications or materials, including
electronic mail and electronic messages that identify any minor visually depicted
while engaging in sexually explicit conduct. as defined in 18 U.S.C. §

2256(2)(13).

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Any records documents programs applications materials or items which are
sexually arousing to individuals who are interested in minors but which are not in
and of themselves obscene or which do not necessarily depict minors involved in
sexually explicit conduct. Such material is commonly known as “child erotica”
and includes Written materials dealing with child development, sex education,
child pornography, sexual abuse of children, incest, child prostitution, missing
children, investigative techniques for child exploitation, sexual disorders
pedophilia. nudist publications diaries and fantasy writings

Any records documents programs applications or materials including
electronic messages that pertain to peer-to-peer file-sharing software

Any records documents programs applications or materials including
electronic mail and electronic messages that pertain to accounts with any intemet
Service Provider.

Any records documents programs applications or materials including
electronic mail and electronic messages regarding ownership and/or possession
of the digital device. which was located within an office inside the Observatory
known as the Dunn Solar Telescope. Sunspot, New Mexico on August 21_ 2018.
Any digital device used to facilitate the above-listed violations and forensic
copies thereof.

With respect to any digital device used to facilitate the above-listed violations or
containing evidence falling within the scope of the foregoing categories of items

to be seized:

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i. Evidence of who used, owned or controlled the device at the time the
things described in this warrant were created, edited, or deleted, such
as logs registry entries configuration files saved usemames and
passwords, documents browsing history, user profiles e-mail, e-mail
contacts chat and instant messaging logs photographs and
correspondence;

ii. Evidence ofthe presence or absence of software that Woulcl allow
others to control the device. such as viruses. Trojan horses and other
forms of malicious software_. as well as evidence of the presence or
absence of security software designed to detect malicious software;

iii. Evidence of the attachment of other devices

iv. Evidence of counter-forensic programs (and associated date) that are
designed to eliminate data from the device.

v. Evidence ofthe times the device Was used;

vi. Passwords. encryption keys and other access devices that may be
necessary to access the device;

vii. Applications. utility programs compilers._ interpreters or other
software, as well as documentation and manuals that may be
necessary to access the device or to conduct a forensic examination of
it;

viii. Records of or information about Intemet Protocol addresses used by

the device:

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ix. Records of or information about the device’s lnternet activity,
including tirewall logs caches. browser history and cookies
"bookmarked" or “l`avorite" web pages search terms that the user
entered into any lnternet search engine, and records of user-typed web
addresses

2. As used herein. the terms “records" "documents." "programs," “applications"
and “materials" include records documents programs applications and materials created,
modified, or stored in any form, including in digital form on any digital device and any forensic
copies thereof.

3. As used herein, the term "`digital device” includes any electronic system or device
capable of storing or processing data in digital form. including central processing units; desktop,
laptop, notebook, and tablet computers personal digital assistants wireless communication
devices such as telephone paging devices beepers mobile telephones and smart phones; digital
cameras peripheral input/output devices such as keyboards printers scanners plotters
monitors and drives intended for removable media: related communications devices Such as
modems reuters cables and connections storage media_ such as hard disk drives floppy disks
memory cards optical disks and magnetic tapes used to store digital data (excluding analog

tapes such as VHS); and security devices

 

UNlTED STATES DISTRICT COURT
DISTRICT OF NEW MEXICO
IN THE MATTER OF THE SEARCH OF: }
A Lenovo ideaPad Laptop Computer Serial }
Number R8-GMWH7, Current|y in the } Case No.

Possession of the F ederal Bureau of }
of Investigation }

AFFIDAVlT IN SUPPORT OF AN APPLICATION
UNDER RULE 41 FOR A SEARCH WARRANT
I, Lisa Kite Hill, being first duly sworn, hereby depose and state as follows
INTRODUCTION AND AGENT BACKGR()UND
1. l am a Special Agent with the Federal Bureau of Investigation (FBl). I have been
a Special Agent with the FBl since August of 2003. l am classified, trained, and employed as a
federal law enforcement officer with statutory arrest authority charged with conducting criminal
investigations of alleged violations of federal criminal statutes including Title 18 of the United
States Code. l am currently assigned as a criminal investigator for the Albuquerque Field Office,
Las Cruces Resident Agency. New Mexico. Prior to my current positions I investigated fraud,
public corruption, and violent crimes against children for twelve years at the Washington Field
Officc. Washington, D.C. Prior to being a Special Agent of the FBI, I was a healthcare
administrator for over ten years During my tenure with the FBI. I have received formal and
informal training in conducting a variety of criminal investigations including the investigation of
individuals involved in the exploitation oi`minors including violations of Title 18. United States
Code, Sections 2251, 2252, and 2252A. l have worked dozens of child pornography and child

enticement investigations and have been trained in the investigation of computer related child

exploitation and child pornography cases During the investigation of these cases l have executed,
or participated in the execution of over forty search warrants and seized evidence of these
violations I have utilized investigative techniques including, but not limited to. consensual
monitoring, witness and subject interviews and online undercover operations

2. l am investigating the activities of an individual who is utilizing the wireless
intemet service within the National Solar Observatory in Sunspot` New Mexico, to download and
distribute child pornography As will be shown below, there is probable cause to believe that
someone using the wireless internet service within the Observatory was utilizing software to
receive, possess or distribute child pomography, in violation of 18 U.S.C. §§2252 and 2252A. I
submit this application and affidavit in support of a search warrant authorizing a search of the
digital device as further described in Attachment A. Located with the digital device to be searched,
I seek to seize evidence, fruits and instrumentalities of the foregoing criminal violations which
relate to knowing transportation. shipment, receipt. possession, distribution, and reproduction of
child pomography. l request authority to search the entire digital device, and to seize all items
listed in Attachment B as instrumentalities fruits and evidence of crime.

3. The statements in this affidavit are based in part on information provided by New
Mexico Internet Crimes Against Children (NM ICAC`) Special Agents Owen Pena and Jay Ratliff
and on my investigation of this matter. Since this affidavit is being submitted for the limited
purpose of securing a search warrant, l have not included each and every fact known to me
concerning this investigation I have set forth only the facts that l believe are necessary to establish
probable cause to believe that evidence. fruits and instrumentalities of the violation of Title 18_,
United States Code §§2252 and 2252A. are presently located within the Lenovo ldeaPad Laptop

Computer, Serial Number: RS-GMWH'?, which is currently located in the evidence room of the

Federal Bureau of Investigation. and which was seized by your affiant from the National Solar

Observatory in Sunspot, New Mexico.

STATUTORY AUTHORITY

4. This investigation concerns alleged violations of Title 18, United States Code,
Sections 2252, and 2252A. relating to material involving the sexual exploitation of minors Based
upon my training and experience, as well as conversations with other experienced law enforcement
officers federal prosecutors and computer forensic examiners I know the following:

a. 18 U.S.C. § 2252(a) in pertinent part prohibits a person from knowingly
transporting, shipping, receiving. distributing, reproducing for distribution, possessing or
accessing With intent to view any visual depiction of minors engaging in sexually explicit conduct
using any means or facilities of interstate or foreign commerce or in or affecting interstate or
foreign commerce, including by computer or mails

b. 18 U.S.C. § 2252A(a) in pertinent part prohibits a person from knowingly
transporting shipping, receiving, distributing, reproducing for distribution, possessing, or
accessing with intent to view any child pomography, as defined in 18 U.S.C. § 2256(8), using any
means or facility of interstate or foreign commerce or in or affecting interstate or foreign
commerce, including by computer.

c. 18 U.S.C. § 2252(a)(l) prohibits a person from knowingly transporting or shipping
using any means or facility of interstate or foreign commerce or in or affecting interstate or foreign
commerce, including by computer or mails any visual depiction of minors engaging in sexually
explicit conduct. Under 18 U.S.C. § 2252(a)(2), it is a federal crime for any person to knowingly
receive or distribute, by any means including by computer, any visual depiction of minors

engaging in sexually explicit conduct using nay means or facility of interstate or foreign commerce

 

or that has been mailed or shipped or transported in or affecting interstate or foreign commerce.
That section also makes it a federal crime for any person to knowingly reproduce any visual
depiction of minors engaging in sexually explicit conduct for distribution using any means or
facility of interstate or foreign commerce or in or affecting interstate or foreign commerce or
through the males Under 18 U.S.C. § 2252(a)(4), it is also a crime for a person to knowingly
access with intent to view, one or more books magazines periodicals films or other materials
which contain visual depictions of minors engaged in sexually explicit conduct that has been
mailed, or has been shipped or transported using any means or facility of interstate or foreign
commerce or in and affecting interstate or foreign commerce_. or which was produced using
materials which have been mailed or so shipped or transported, by any means including by
computer.

d. 18 U.S.C. § 2252A(a)(1) prohibits a person from knowingly mailing, transporting,
or shipping using any means or facility of interstate or foreign commerce or in or affecting
interstate or foreign commerce by any means including by computer, any child pornography 18
U.S.C. § 2252A(a)(2) prohibits a person from knowingly receiving or distributing any child
pornography that has been mailed or shipped or transported using any means or facility of interstate
or foreign commerce or in or affecting interstate or foreign commerce by any means including a

computer.

DEFINIT[ONS

5. The following definitions apply to this Affidavit:

 

a. “Child Erotica,” as used herein, means materials or items that are sexually arousing
to persons having a sexual interest in minors but that are not necessarily, in and of themselves

obscene or that do not necessarily depict minors in sexually explicit poses or positions

b. “Child Pornography," as used here, includes the definitions in 18 U.S.C. §§ 2256(8)
and 2256(9) (any visual depiction of sexually explicit conduct where (a) the production of the
visual depiction involved the use ofa minor engaged in sexually explicit conduct, (b) the visual
depiction was a digital image, computer image. or computer generated image that is or is
indistinguishable from, that of a minor engaged in sexually explicit conduct, or (c) the visual
depiction has been created, adapted, or modified to appear that an identifiable minor is engaged in

sexually explicit conduct). See U.S.C. §§ 2252 and 2256(2).

c. “Visual depictions" include undeveloped film and videotape. and data stored on a
computer disk or by electronic means which is capable of conversion into a visual image, and
which is capable of conversion into a visual image that has been transmitted by any means whether

or not stored in permanent format. k 18 U.S.C. § 2256(5).

d. “Sexually explicit conduct" means actual or simulated (a) sexual intercourse,
including genital-genital, oral-genital. anal-genital. or oral-anal, whether between persons of the
same or opposite sex; (b) bestiality; (c) masturbation; (d) sadistic or masochistic abuse; or (e)

lascivious exhibition of the genitals or pubic area of any persons g 18 U.S.C. § 2256(2).

e. “Computer," as used herein, is defined pursuant 18 U.S.C. § 1030(e)(l), as “‘an

electronic, magnetic, optical, electrochemical. or other high speed data processing device

performing logical, arithmetic or storage functions and includes any data storage facility or

communications facility directly related to or operating in conjunction with such device."

f. "Computer hardware." as used herein. consists of all equipment which can receive.
capture, collect, analyze, create, display, convert, store. conceal, or transmit electronic, magnetic,
or similar computer impulses or data. Computer hardware includes any data processing devices
(including, but not limited to, central processing units internal and peripheral storage devices such
as fixed disks external hard drives and other memory storage devices); peripheral input/output
devices (including, but not limited to, keyboards printers video display monitors and related
communications devices such as cables and connections), as well as any devices mechanisms or
parts that can be used to restrict access to computer hardware (including, but not limited to,

physical keys and locks).

g. “Computer software," as used herein. is digital information which can be
interpreted by a computer and any of its related components to direct the way they work. Computer
software is stored in electronic, magnetic, or other digital form. lt commonly includes programs

to run operating systems applications and utilities

h. The terms “records" "documents" and “materials," as used herein, include all
information recorded in any form, visual or aural, and by any means whether in handmade form
(including, but not limited to, writings drawings painting)q photographic form (including, but not
limited to, microfilm, microfiche, prints slides negatives videotapes motion pictures
photocopies), mechanical form (including. but not limited to. phonograph records printing,
typing), or electrical, electronic or magnetic form (including, but not limited to, tape recordings

cassettes compact discs electronic or magnetic storage devices such as floppy diskettes hard

 

disks CD-ROMs digital video disks (“DVDs"). Personal Digital Assistants (“PDAs"). Multi
Media Cards ("MMCS”). memory sticks optical disks printer buffers smart cards memory
calculators electronic dialers, or electronic notebooks as well as digital data files and printouts or

readouts from any magnetic, electrical or electronic storage device).

i. “Computer passwords and data security devices."‘ as used herein_. consist of
information or items designed to restrict access to or hide computer software, documentation, or
data. Data security devices may consist of hardware, software, or other programming code. A
password (a string of alpha-numeric characters) usually operates what might be termed a digital
key to “unlock” particular data security devices Data security hardware may include encryption
devices chips and circuit boards Digitally coded data security software may include
programming code that creates “test” keys or "‘hot"' keys which perform certain pre-set security
functions when touched. Data security software or code may also encrypt, compress hide, or

"booby»trap" protected data to make it inaccessible or unusable, as well as reverse the progress to

restore it.

j. ‘“Intemet Protocol address” or “IP address” refers to a unique number used by a
computer to access the lnternet. IP addresses can be dynamic, meaning that the lntemet Service
Provider (ISP) assigns a different unique number to a computer every time it accesses the Intemet.
IP addresses might also be static, if an ISP assigns a user`s computer a particular lP address that is

used each time the computer accesses the lntemet.

k. "Minor” means any person under the age of 18 years See 18 U.S.C. § 2256(1).

 

l. “Peer-to-peer file-sharing" (“‘P2P") is a method of communication available to
Internet users through the use of special software Computers or cellular telephones linked
together through the Internet using this software form a network that allows for the sharing of
digital files between users on the network. A user first obtains the P2P software, which can be
downloaded from the Intemet. ln general, P2P software allows the user to set up files on a
computer or cellular telephone to be shared with others running compatible P2P software A user
obtains files by opening the P2P software on the user`s computer or cellular telephone, and

conducting searches for files that are currently being shared on another user’s computer.

COMPUTERS drip CHILD PORNOGRAPHY

6. Based upon my training and experience_. as well as conversations with other
experienced law enforcement officers and computer forensic examiners I know that computers
and computer technology have revolutionized the way in which individuals interested in child
pornography interact with each other. ln the past, child pornography was produced using cameras
and film (either still photography or movies). The photographs required darkroom facilitates and
a significant amount of skill in order to develop and reproduce the images There were definable
costs involved with the production of pornographic images and to distribute these images on any
scale required significant resources and significant risks The photographs themselves were
somewhat bulky and required secure storage to prevent their exposure to the public and/or law
enforcement The distribution of these wares was accomplished through a combination of personal
contacts mailings and telephone calls

7. The development has radically changed the way that child pornographers obtain,
distribute and store their contraband. Computers basically serve five functions in connection with

child pornography: access productioni communications distribution, and storage.

 

8. Child pomographers can now convert paper photographs taken with a traditional
camera (using ordinary film) into a computer readable format with a device known as a scanner.
Moreover, with the advent, proliferation and widespread use of digital cameras the images can
now be transferred directly from a digital camera onto a computer using a connection known as a
USB cable or other device. Digital cameras have the capacity to store images and videos
indefinitely, and memory Storage cards used in these cameras are capable of holding hundreds of
images and videos A device known as a modern allows any computer to connect to another
computer through the use of telephone, cable. or wireless connection Electronic contact can be
made to literally millions of computers around the world.

9. The computer’s ability to store images in digital form makes the computer itself an
ideal repository for child pornography. The size of the electronic storage media, that is the hard
disk drive used in home computers has grown tremendously within the last several years These
hard disk drives can store hundreds of thousands of images at very high resolution

10. The World Wide Web of the lntemet affords collectors of child pornography
several different venues for obtaining, viewing and trading child pornography in a relatively secure
and anonymous fashion.

l l. Collectors and distributors of child pornography frequently use online resources to
retrieve and store child pornography, including services offered by lntemet Portals such as Yahoo!,
Hotmail_, Apple Inc., and Google. among others The online services allow a user to set up an
account with a remote computing service that provides email services as well as electronic storage
of computer files in a variety of fomiats. A user can set up an online storage account from any
computer or cellular telephone with access to the lntemet. Evidence of such online storage of

child pornography is often found on the user`s computer or cellular telephone Even in cases where

 

online storage is used, however._ evidence of child pornography can be found on the user’s
computer or cellular telephone in most cases

12. As is the case with most digital technology, communication by way of computer
can be saved or stored on the computer used for these purposes Storing this information carr be
intentional, i.e., by saving an email as a file on the computer of saving particular website locations
in, for examplei "bookmarked" files Digital information. images and videos can also be retained
unintentionally, e.g., traces of the path of an electronic communication may be automatically
stored in many places (e.g., temporary files of ISP client software, among others). Often, a
computer will automatically save transcripts of logs of electronic communications between its user
and other users that have occurred over the Intemet. These logs are commonly referred to as "chat
logs.” Some programs allow computer users to trade images while simultaneously engaging in
electronic communications with each other. This is often referred to as “chatting,” or “instant
messaging."

13. Based upon my training and experience. as well as conversations with other law
enforcement officers and computer forensic examiners l know that these electronic “chat logs"
often have great evidentiary value in child pornography investigations as they record
communication in transcript form. show the date and time of such communication, and also may
show the dates and times when images of child pornography were traded over the Intemet. In
addition to electronic communication, a computer user`s internet activities generally leave traces
or “footprints” in the web cache and history files of the browser used. A forensic examiner often
can recover evidence suggesting whether a computer contains peer-to-peer software, when the

computer was sharing files and some of the files which were uploaded or downloaded. Such

 

information is often maintained on a computer for long periods of time until overwritten by other
data.
BP FlLE-SHARING IS A GROWING PHENOMEN()N

14. A growing phenomenon on the Internet is peer-to-peer file-sharing (P2P). P2P file
sharing is a method of communication available to Internet users through the use of special
software The software is designed to allow users to trade digital files through a worldwide
network that is formed by linking computers There are several different software applications
that be used to access these networks but these applications operate in essentially the same
manner.

15. To access the P2P networks a user first obtains the P2P software, which can be
downloaded from the Intemet. This software is used exclusively for the purpose of sharing digital
files Once the P2P software is installed on a computer, the user is directed to specify a "shared”
folder. All files placed in that user`s designated “shared" folder are available to anyone on the
world wide network for download. Most P2P software gives each user a rating based on the
number of files he/she is contributing to the network. This rating affects the user’s ability to
download files The more files a user is sharing, the great his/her ability tis to download files
This rating system is intended to encourage users to "share" their files thus propagating the P2P
network. A user, however is not required to share files in order to utilize the P2P network.

16. A user obtains files by conducting keyword searches of the P2P network. When a
user initially logs onto the P2P network, a list of the files that the user is sharing is transmitted to
the network The P2P software then matches files in these file lists to keyword search requests
from other users A user seeking to download files simply conducts a keyword search. The results

of the keyword search are displayed and the user then selects the file(s) which he/she would like

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to download. The download of a file is achieved through a direct connection between the computer
requesting the file and the computer(s) hosting the file. Once a file had been downloaded, it is
stored in an area previously designated by the user and will remain there until moved or deleted.
The majority of the P2P software applications retain logs of each download event.

17. A person interested in sharing child pornography with others via a P2P network,
needs only to place those files in his/her "shared" folder(s). Those files are then available to all
users of the P2P network for download, regardless of their physical location.

18. A person interested in obtaining child pomography can open the P2P application
on his/her computer and conduct a keyword search for files using a search term, such as “preteen
sex.” The keyword search would return results of files being shared on the P2P network that match
the term "preteen sex.” The user can then select a file(s) from the search results and the selected
file(s) can be downloaded directly form the computer(s) sharing the file(s).

19. The computers that are linked together to form the P2P network are located
throughout the world. Therefore, the P2P network operates in interstate and foreign commerce

20. One of the advantages of P2P file sharing is that multiple files may be downloaded
in parallel (i.e. the user can download more than one file at a time). In addition, a user may
download parts of one file from more than one source computer at a time. For example_ a user
downloading an image file may actually receive parts of the image from multiple computers The
advantage of this process is that it reduces the time it takes to obtain a file(s). A P2P file transfer
is assisted by reference to an Internet Protocol (IP) address An IP address is expressed as four
numbers separated by decimals Each number. which can range from 0 to 256, is unique to a
particular intemet connection during an online session. The lP address provides a unique location

making it possible for data to be transferred between computers

21 . Even though the P2P network links together computers all over the world and users
can download files it is not possible for one user to send or upload a file to another user of the
P2P network The software is designed only to allow files to be downloaded that have been
selected. One does not have the ability to send files from his/her computer to another`s computer
without their permission or knowledge Therefore. it is not possible for one user to send or upload
child pornography files to another user’s computer without his/her active participation

22. P2P networks such as the one utilized in this investigation, can be accessed through
applications on cellular phones

23. Third-party software is available to identify the IP address of the P2P computer
sending the file. Such software monitors and logs lnternet and local network traffic.

24. Gnutella is a P2P network. Users of the Gnutella network share content on the
network by using one of several client software programs capable of using the Gnutella network
rules and language (protocols).

25. “Shareaza LE” is available to law enforcement officers and is a modified P2P
software program that law enforcement officers use to work undercover operations to identify IP
addresses that share child pomography. While using this software. law enforcement officers can
connect to the Gnutella, Gnutella 2a eDonkey. and Ares P2P networks Shareaza LE allows law
enforcement to establish a direct connection with other host computers on these P2P networks and
conduct a sole-source download (downloading all pieces of a single file from the same peer) in
lieu of “swarming" (downloading different pieces of a single file from multiple peers). This
software also identifies and captures the Internet Protocol (IP) address and Globally Unique
ldentifiers (GUIDs) transmitted by the computers with which it establishes a connection and

downloads files A GUID is a reference number used as an identifier in computer software.

 

Additionally, the software allows law enforcement officers to view the hash value in the file
listings returning in both the "browse" function and "file query” function on the P2P networks

26. When computers on the Gnutella, Gnutella 2, and the eDonkey networks
communicate they transmit identifying information about themselves One such piece of
information that is obtainable is the lP address of the computer on the other end. Two other pieces
bf information obtainable in the communication streams are the type of software and the GUID.
When a person installs a P2P program on a computer, a mathematical procedure (i.e. a hash
function) for that computer calculates a GUID based on the computer’s configuration Network
lnterface Card (NlC), and hardware. In many cases an encryption file is created and tied to that
GUlD to prevent anyone else form using that same GUlD on the system. The very nature of the
Gnutella, Gnutella 2, and the eDonkey networks requires computers to have a unique GUID to
ensure correct communications on the network.

27. When comparing GUIDS_. it can be determined with a high degree of certainty that
two different IP addresses that are associated with the GUID are associated with the same
computer.

28. There are automated tools available to law enforcement that can be used to
automate the search process for the aforementioned search terms and then can be used to identify,
by lP address those users offering to trade files that have those terms in them. The returned lists
of IP addresses offering those files for trade can be scanned specifically for digital signatures of
known or suspected child pornography by those same automated tools and the information can be
recorded and examined by jurisdictions across the country. One such tool, the Child Protection

System (CPS) was utilized by the NM ICAC for this investigation

 

 

29. The Gnutella networks have a built-in functionality to insure precise file matching
On the Gnutella network, precise file matching is don’t through the use of SHA-l digital
signatures The method used by the Gnutella P2P network involves a file encryption method called
Secure Hash Algorithrn version l, or more commonly known as SHA-l. A SHA-l value can be
likened to DNA. lt is in essence, a mathematical fingerprint of a computer file that will remain
the same for an unchanged file no matter where the file is found, on which computer the file is
located, or what the file is named. in this investigation SHA-l values were used by the CPS

database, to identify files that are known child pornography files

PEER-TO-PEER (PZP) FILE SHARING AND INVESTIGA'I`I()NS
VER LA ENF I

30. On July 27, 2018, NM ICAC Special Agent Owen Pena was conducting an online
investigation and examined the records contained in the Child Protection System (CPS) database,
specifically focusing on lP addresses/GUIDs believed to be in New Mexico and offering to
participate in the distribution of files containing child sexual exploitation I-le noted one lP address
that was associated with five GUIDS which all contained SHAI Hash Values that contained files
indicative of child pomography. He noted that that IP address (146.5.17.100) had been logged in
the CPS from .lanuary 24, 2018, through February 23, 2018. The CPS servers reported that this IP

address was located at the National Solar Observatory (NSO) in Sunspot, New Mexico.

31. While examining the records contained in the CPS database, SA Pena noted that
another IP address (146.5.17.47) was associated with two GUle which all contained SHAl Hash
Values that contained files indicative of child pomography. He noted that IP address 146.5.17.47
had been logged in the CPS from April 3, 2018_. through June ll, 2018. The CPS servers reported

that this IP address was located at the National Solar Observatory (NSO) in Sunspot, New l'vlexico.

 

 

32. While continuing to examine the records contained in the CPS database. SA Pena
noted that a third lP address (146.5.17.80) was associated with one GUID which contained SHAI
Hash Values that contained files indicative of child pomography. He noted that IP address
146.5.17.80 had been logged in the CPS from July 4, 20]8, through July 12, 2018. The CPS
servers reported that this lP address was located at the National Solar Observatory (NSO) in

Sunspot, New Mexico.

33. SA Pena then queried Maxl\/lind.com for the above three IP addresses and noted
that all three IP addresses were registered to the National Solar Observatory (NSO) through
Tularosa Communications SA Pena contacted Tularosa Communications and learned that this
block of IP addresses belongs solely to the National Solar Observatory in Sunspot_. NM.

Furthermore_. SA Pena was advised that the contact person for NSO is John Doherty.

34. On .luly 31, 2018, SA Pena contacted .lohn Doherty and advised him of the fact that
multiple files containing child pornography had been seen coming from the IP addresses which
belonged to the NSO. SA Pena was referred to the Director ofthe NSO. On August l, 2018, SA
Pena contacted the Director of the NSO, who advised SA Pena that he had ordered that the local
public network at that site be disabled, as a precautionary measure. The Director arranged for a
conference call on August 2, 2018. which included himself, SA Pena, NSO’s IT Manager, and
Valen Schnader, Chief of Staff for the Association of Universities for Research in Astronomy
(AURA). The NSO at Sunspot, NM is managed by AURA, under a cooperative agreement with
the National Science Foundation. The National Science Foundation funds the research conducted
at the facility and AURA manages the facility During the conference call on August 2, 2018, it

was decided that the public network site would be recreated or re-opened, in an attempt to allow

the subject to gain access to the intemet, for the purpose of monitoring activity and definitely

identifying the subject

35. lmmediately after "re-opening" the network on August 2, 2018, NSO’s IT Manager
could detect inbound traffic to the specific port which had been blocked, with a newly assigned lP
address (146.5.17.84). The IT Manager advised SA Pena that the MAC Address for the device
accessing the IP address was: 00:26:82:lb:l6:f5, and that the Operating System was Windows
XP. Later, the IT Manager advised SA Pena that he was able to trace the host computer with the
above MAC Address to a wireless access point (AP42100) that is located inside the Dunn Solar
Telescope, in the hallway with the doors to the offices The IT Manager also advised SA Pena that

the specific access point does not serve the housing units located at Sunspot, NM.

36. On August 6, 2018, NM ICAC Special Agent Jay Ratliff, while working in an
undercover capacity utilizing P2P software program Shareaza 2.7.9.0, received a browse of a child
pornography file from IP Address: 146.5.17.84 with GUID:
078C2CD8305A5444B488518F8DC6FCEB. That is the same IP address which was assigned to
the NSO on August 2, 2018. upon re-opening of the network by the NS() IT Manager.
Furtherrnore, the above GUID is consistent with a child pornography lile. In fact, during the time
period between August 2, 2018. at approximately 3:00 p.m. MDT and August 6, 2018 at
approximately 3:00 p.m. MDT, the CPS database records showed that the above IP address had
been offering to participate in the distribution of files containing child pomography. During the
four day time period, the GUID record showed Hash Values for over 200 files of known child

pomography.

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37 . SA Pena provided the other three IP addresses to SA Ratliff, associated with the
NSO, and SA Ratliff reviewed his undercover investigative activity for the previous months SA
Ratliff noted that on February 23, 2018, while working in an undercover capacity utilizing the P2P
software program Shareaza 2.7.9.0, he had connected to IP address 146.5.17.100 and had received
two partial files from that IP address which were consistent with child pomography, and with the
following GUID: l lB2275El D80CD4BA95C5D876254D03C. That Same GUID was captured
by the CPS system as being offered by a host computer at the IP address 146.5.1 7. 100 on February
23, 2018, with over 100 files whose SHA-l Hash Values and filenames are consistent with child

pomography.

38. After learning that the NSO buildings and research are funded by the National
Science Foundation, and that the land upon which they sit is owned by the U.S. National Park

Service, SA Pena contacted your affiant to arrange for referral of the case to the FBI.

39. On August 10. 2018. your affiant contacted Mr. Schnader and began a dialog with
him concerning individuals with access to the Observatory, as well as which individuals were

present at different times of the day.

40. On August 14, 2018, your affiant analyzed the results from the CPS GUID records
for the IP addresses 146.5.17.100, 146.5.17.47, l46.5.l7.80, and 146.5.17.84. During the time
period from August 2, 2018, at 3:00 p.m. EDT through August 4, 2018, at 5:26 p.m. EDT (over
26 hours). At 5:26 p.m. EDT on August 4, 2018. the host computer was disconnected from the
network and did not connect to the network again until 6:02 p.m. EDT. For nine of the next 1 l
days the host computer was connected from approximately 6:00 p.m. EDT every evening until

approximately 5:30 p.m. EDT the following day, then disconnected for approximately 30 minutes

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before being reconnected again A similar pattern was observed from February of 2018 until
August l4 of 201 8, with the connection times increasing in proximity to the 6:00 p.m. mean lt is
therefore most likely that the individual downloading and distributing child pornography was

present within the facility between approximately 5:30 p.m. and 6 p.m. on an almost daily basis

41. On August 21, 2018, your affiant received records from Special Agent Pena,
showing that the host device had not been connected to the wireless intemet using lP Address
146.5.17.84 from Wednesday, August 15lh at 2142 p.m. EDT until Monday, August 20"1 at 3:16
p.m. EDT. On August 20, 2018 at 3: 16 p.m. EDT a host device had been connected to the intemet

using IP Address: 146.5.17.84.

42. On August 21, 2018, Mr. Schnader contacted your affiant and advised that the Chief
Observer at the National Solar Observatory in Sunspot had notified his supervisor that he had
found a laptop computer running in an empty office He further reported to his supervisor that he
had Seen the same laptop computer secreted and running in two other offices over the past several
months The first time he picked up the computer, he described the contents on the desk top as
“not good.” This time when he found the laptop computer, he checked the IP Address, and reported
it to his supervisor as “146.5.17.84.” Mr. Schnader provided contact information for the Chief

Observer, and notified him that your affiant would contact him momentarily.

43. On August 21, 2018, your affiant interviewed the Chief ()bserver telephonically.
Upon learning that the Chief Observer had found the laptop computer running several months ago,
in a different location, and had at that time seen an image that was consistent with child
pornography, your affiant requested that the Chief Observer lock down the facility and remain

there until your affiant could seize the device.

44. On August 21, 2018, your affiant arrived at the National Solar Observatory and
interviewed the Chief Observer in person Thereafter, your affiant photographed the room in
which the Lenovo laptop computer was plugged in and running Your affiant also observed and
photographed the room in which the Lenovo laptop computer had been plugged in and running
several months earlier (the day on which the Chief Observer had seen an image consistent with
child pornography). Your affiant noted that the Lenovo laptop computer was an ldeaPad with a
Windows XP logo near the keyboard. The program "Shareaza” was on the screen, and your affiant
photographed the computer screen in place prior to seizing the computer. After seizing the
computer, your affiant transported it to the FBI Office in Las Cruces, New Mexico. It is currently

located in the temporary evidence room located within the secure FBI Office.

45. Further information learned from the Chief Observer on August 21 , 2018, indicates
that he had originally found the Lenovo laptop computer several months ago, in an office used
only two or three times a year by a retired professor who now has Emeritus status The professor
asked the Chief Observer to examine his desktop computer within his office, as it was not working
properly. Under the desk, in the space between the desktop computer"s central processing unit
(CPU) and the wall, the Chief Observer found a Lenovo laptop computer plugged in and running.
When he opened the laptop computer, he saw an image of a naked adult woman, which rapidly
changed to an image which the Chief Observer described as being a female child with her face
covered with a mask. The Chief Observer assumed the laptop computer belonged to one of the
New Mexico State University (NMSU) students who occasionally conducted research at the
Observatory The Chief Observer was distracted by an urgent matter within the facility, shut the

computerq and did not report the incident.

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46. Several weeks later. the Chief Observer was asked by another Emeritus professor
to look for some software disks. This Emeritus professor has relocated to Montana and has not
been in the Observatory (or that office) for many months The Chief Observer saw the Lenovo
laptop computer secreted in the office, plugged in, and running Again, he assumed the laptop

computer was being used by an NMSU student who knew the office was rarely used.

47. On August 21, 2018, the Chief Observer walked into an office that has been
unassigned for several months and was scheduled to be assigned in the future to an individual who
had recently been hired and was scheduled to arrive in September of 201 8. The Chief Observer
saw the same Lenovo laptop computer secreted in the corner of the office, plugged in and runningl
He queried the IP address and noted that the computer was running the Windows XP operating
System. The ChiefObserver realized that the laptop computer did not belong to one of the NMSU
students because no students had been in the Observatory for at least ten days The ChiefObserver
also noted that only three individuals had been in the Observatory over the past 36 hours himself,
Chris Mitchell, and Joshua Cope. All three of those individuals have a key to the building and
also have the code to access the building They are all free to come and go, and lock up the

building

48. Chris Mitchell began his employment at the Observatory in May of 2018, He did
not have access to the Observatory during the time period from January of 201 8 until May of 201 8,

when the wireless Internet signal was used to download files consistent with child pomography.

49. Joshua Cope began providing janitorial services at the Observatory approximately
one year ago. He generally arrived to clean at approximately 2 p.m. and Stayed for a couple of

hours On numerous occasions when the Chief Observer had departed for the day at

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approximately 3 p.m., Cope had offered to lock the facility when he departed. Cope has a key to
the building and unlimited access to the building, and is familiar with which offices are used only
a handful of times a year. When he is not going to be available to clean, his parents (who have the
cleaning contract for both the Apache Point Observatory and the Sunspot Observatory) notify the
Chief Observer via email. ln fact, Cope attended a wedding with his parents on the East Coast,
and was not present in the Observatory from Thursday afternoon until Monday afternoon (August

15, 2018 until August 20, 2018).

50. On August 21, 2018, SA Pena provided lthe GUID records for IP Address
146.5.17.84. A device connected to the IP address and utilized Shareaza P2P software to offer file
names which were consistent with known child pornography, and SHAl Hash Values which were
consistent with known child pornography_, at approximately 3:16 p.m. EDT on August 20, 2018,
Prior to that date and time, the last time a device was connected to IP Address 146.5.17.84, utilizing
Shareaza P2P software to offer child pornography for distribution, was August 15, 2018 at

approximately 2:42 p.m. EDT.

51. On August 22, 2018q SA Pena provided the GUID records for lP Address
146.5.17.84. The GUID records showed that the device was connected and utilizing the Shareaza
software until approximately the time in which your affiant seized the laptop computer and

removed it from the facility in which it had been accessing the above lP address

52. On August 24, 2018. your affiant conducted another telephonic interview with the
Chief Observer. He advised that Joshua Cope had arrived the morning following the seizure of
the laptop computer (August 22. 2018), and the Chief Observer had seen Cope exiting the office

in which the computer had been located the day before. Cope approached the Chief Observer and

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stated that he was missing some cleaning supplies which he had left in the office, and asked if
anyone had been in the office The Chief Observer advised your affiant that he had located the
Lenovo laptop computer next to a box of cleaning supplies on the day in which the computer was
seized. The Chief Observer advised that there was no reason for anyone to be in the office as the
assigned person had not been there in many months Cope then stated that he needed to clean the
office next doori and needed to gain access to the office which had been locked by the Chief
Observer after Agents departed the observatory. This is the same office in which the Chief

Observer had previously found the small Lenovo laptop computer secreted.

53. Later in the day, Cope reported that he thought someone had been entering the
Observatory at night, in order to steal the wireless lnternet service He also stated that he was
concerned that security was so lax, as in January of 2018 he had seen a man parked in a truck
outside of the Observatory, handling an item that appeared to be a black book. Cope then stated
that someone had stolen five rolls of toilet paper from the facility. The Chief Observer stated that

he would look into the matter.

54. The following day (August 23. 2018), Cope stated that he was tired of people taking
his things and that he was no longer going to bring any personal items into the Observatory. He
stated that many people knew the passcode into the facility. and the code should be changed He
then stated to the Chief Observer words to the effect of, "I should be able to throw a laptop down
in a room and not have to worry about someone stealing it." The Chief Observer described Cope’s
actions as being frantic, and noted that Cope had continued to approach him throughout the day
with questions and comments about missing items and lax security, which Cope had not discussed

in his previous year of cleaning the Observatory.

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CHILD PORN()GRAPHY COLLECTOR CHARACTERIS'l`ICS

55. Based on my experience, training, and conversations with other experienced agents
who investigate cases involving the sexual exploitation of children, l know that certain common
characteristics are often present in individuals who collect child pomography. l have observed
and/or learned about the reliability of these commonalities and conclusions involving individuals,
who collect. produce and trade images of child pomography. Based upon my training and
experience, and conversations with other experienced Agents in the area of investigating cases
involving sexual exploitation ofchildrenr I know that the following traits and characteristics are
often present in individuals who collect child pornography:

a. Many individuals who traffic in and trade images of child pornography also collect
child pomography. Many individuals who collect child pornography have a sexual attraction to
children. They receive sexual gratification and satisfaction fi'om sexual fantasies fueled by
sexually explicit depictions of children.

b. Many individuals who collect child pornography collect sexually explicit materials,
which may consist of photographs, magazines, motion pictures, video tapes, books. slides.
computer graphics or digital or other images for their own sexual gratification Many of these
individuals also collect child erotica, which may consist of images or text that do not rise to the
level of child pornography but which nonetheless fuel their deviant sexual fantasies involving
children.

c. Many individuals who collect child pornography often seek out like minded
individuals. either in person or on the Internet, to share information and trade depictions of child
pornography and child erotica as a means of gaining status, trust. acceptance, and support. This

contact also helps these individuals to rationalize and validate their deviant sexual interest and

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associated behavior. The different Internet based vehicles used by such individuals to
communicate with each other include, but are not limited to, PZP, email, email groups, bulletin
boards, Internet Relay Chat Rooms (IRC), newsgroups, instant messaging, and other similar
vehicles.

d. Many individuals who collect child pornography maintain books, magazines,
newspapers and other writings (which may be written by the collector), in hard copy or digital
medium, on the subject of sexual activities with children as a way of understanding their own
feelings toward children, justifying those feelings and finding comfort for the illicit behavior and
desires. Such individuals often do not destroy these materials because of the psychological support
that they provide.

e. Many individuals who collect child pornography often collect, read, copy or
maintain names, addresses (including email addresses), phone numbers, or lists of person who
have advertised or otherwise made know in publications and on the lntemet that they have similar
sexual interests These contacts are maintained as a means of personal referral, exchange or
commercial profit. .These names may be maintained in the original medium from which they were
derived. in telephone books or notebooks, on computer storage devices, or merely on scraps of
paper.

f. Many individuals who collect child pornography rarely, if ever, dispose of their
sexually explicit materials and may go to great lengths to conceal and protect them from discovery,
theft, or damage. These individuals view their sexually explicit materials as prized and valuable
materials_ even as commodities to be traded with other likeminded individuals over the Intemet.
As such, they tend to maintain or “hoard” their visual depictions of child pornography for long

periods of time in the privacy and security of their homes or other secure locations Based on my

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training and experience, as well as my conversations with other experienced law enforcement
officers, l know that individuals who possess. receive, and/or distribute child pornography by
computer using the intemet often maintain and/or possess the items listed in Attachment B.

56. Individuals who collect child pornography rarely, if ever, dispose of their sexually
explicit materials and may go to great lengths to conceal and protect from discovery, theft, and
damage to their collection of illicit materials The known desire of such individuals to retain child
pornography together with the sense of security afforded by using computers, provides probable
cause to believe that computer images, especially child pornography and erotic nudity involving
minors, will be retained by collector indefinitely These individuals may protect their illicit
materials by passwords, encryption, and other security measures, save it on movable media such
as CDs, DVDs_, flash memory, thumb drives, and removable hard drives, which can be very small
in size, including as small as a postage stamp, and easily secreted, or send it to third party image

storage sites via the Internet.

INFORMATION TO BE SEARCHED AND THINGS TO BE SEIZED

57. Searches and seizures of evidence from computers commonly require agents to
download or copy information from the computers and their components, or seize most or all
computer items (computer hardware, computer software. and computer related documentation) to
be processed later by a qualified computer expert in a laboratory or other controlled environment

This is almost always true because of the following two reasons:

a. Computer storage devices (like hard disks, diskettes, tapes, laser disks, magneto
opticals, and others) can store the equivalent of thousands of pages of informationl Especially

when the user wants to conceal criminal evidence, he or she often stores it in random order with

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deceptive file names This requires searching authorities to examine all the stored data that is
available in order to determine whether it is included in the warrant that authorizes the search.
This sorting process can take days or weeks, depending on the volume of data stored, and is
generally difficult to accomplish on-site.

b. Searching computer systems for criminal evidence is a highly technical process
requiring expert skill and a properly controlled environment The vast array of computer hardware
and software available requires even computer experts to specialize in some systems and
applications, so it is difficult to know before a search which expert should analyze the system and
its data. The search of a computer system is an exacting scientific procedure that is designed to
protect the integrity of the evidence and to recover even hidden, erased, compressed, password-
protected, or encrypted files Since computer evidence is extremely vulnerable to tampering or
destruction (which may be caused by malicious code or normal activities of an operating system),
the controlled environment of a laboratory is essential to its complete and accurate analysis

58. In order to fully retrieve data from a computer system, the analyst needs all
magnetic storage devices as well as the central processing unit (CPU). In cases involving child
pornography where the evidence consists partly of graphics files, the monitor(s) may be essential
for a thorough and efficient search due to software and hardware configuration issues In addition,
the analyst needs all the system software (operating systems or interfaces, and hardware drivers)
and any applications software which may have been used to create the data (whether stored on
hard drives or on external media).

59. Furthermore, because there is probable cause to believe that the computer and its
storage devices are all instrumentalities of crimes. within the meaning of 18 U.S.C. §§ 2251

through 2256, they should all be seized as such.

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SEARCH METHODOLOGY TO BE EMPLOYED

60. The search procedure of electronic data contained in computer hardware, computer
software, and/or memory storage devices may include the following techniques (the following is

a non-exclusive list, as other search procedures may be used):

a. examination of all of the data contained in such computer hardware, computer
software, or memory storage devices to view the data and determine whether that data falls within

the items to be seized as set forth herein;

b. searching for and attempting to recover any deleted, hidden, or encrypted data to
determine whether that data falls within the list of items to be seized as set forth herein (any data
that is encrypted and unreadable will not be returned unless law enforcement personnel have
determined that the data is not (l) an instrumentality of the offenses, (2) a fruit of the criminal
activity, (3) contraband, (4) otherwise unlawfully possessed, or (5) evidence of the offenses

specified above);

c. surveying various file directories and the individual files they contain;

d. opening files in order to determine their contents;

e. scanning storage areas;

f. performing key word searches through all electronic storage areas to determine

whether occurrences of language contained in such storage areas exist that are likely to appear in

the evidence described in Attachment B; and

g. performing any other data analysis technique that may be necessary to locate and

retrieve the evidence described in Attachment B.

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BACKGROUND OF lNVESTIGATlON ANQ
FACTS ESTABLISHING PROBABLE CAUSE

61 . The FBI is investigating Joshua Cope as a suspect for using one or more computers
and computer media at this facility to commit violations of Title 13, United States Code, S_ections
2252 and 2252A. which prohibit mailing_. transportation, shipment, receipt, possession and access
with intent to view, in interstate or foreign commerce by any means; including by computer. any
child pomography.

62. Based on the investigation, FBl now believes that Joshua Cope, who works as a
janitor inside the Dunn Solar Telescope (DST) Observatory in Sunspot, New Mexico, is the user
of the computer which was being used to access the wireless lntemet signal, and to download and
distribute child pomography. This is based on the following facts: 1) The wireless Internet signal
being used to access and distribute child pornography is contained within the DST Observatory;
(2) the wireless Internet signal does not reach the housing units near the DST Observatory; (3)
there are only two individuals who access the DST Observatory afier dusk and before dawn; (4)
the activity began months after Joshua Cope gained access to the DST Observatory and months
prior to the time when Chris Mitchell gained access to the DST Observatory; (5) the other
individuals with keys to the building and knowledge of the access code are there only a couple of
times per year, and did not have access to the DST Observatory from August 20, 2018 until August
21, 2018; (6) Joshua Cope was not present in the DST Observatory during the five day period in
which SA Pena queried the ICAC secure website for the recent history of the user using the lP
address 146.5.17.84, and noted that the user was not actively offering to share files consistent with
child pomography; and Joshua Cope was present in the DST Observatory during the days/nights
in which the host device was connected to the IP addresses within the facility, and actively offering

to share files consistent with child pomography.

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CONCLUSION

63. Based on my training and experience and the facts set forth above, l have probable
cause to believe that Joshua Cope is involved in the possession and distribution of child
pornography` in violation 18 U.S.C. §§ 2252 and 2252A. Additionally. l have probable cause to
believe that evidence of criminal offenses, namely, violations of 18 U.S.C. §§ 2252 and 2252A, is
located in the device listed in Attachment B to this affidavit, which is incorporated herein by
reference, is contraband, the fruits of crime, or things otherwise criminally possessed, or property

which is or has been used as the means of committing the foregoing offenses

64. Accordingly, I respectfully request that the attached warrant be issued authorizing

the search and seizure of the items listed in Attachment B.

q

Lisa Kite ill
Special Agent
Federal Bureau of Investigation

Subscribed and sworn before me thiM day of Septe ber 8.

 

 

The Ei{§prable Gregory B. Wormuth
United ates Magistrate Judge

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